Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 1 of 14




                                EXHIBIT 32



                                 In Support of


          Plaintiff United States’ Memorandum of Law in Support of the
         United States’ Second Motion for Partial Summary Judgment; and
            Statement of Undisputed Material Facts in Support Thereof
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 2 of 14 1



 1
 2                UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF LOUISIANA
 3
         IN RE: OIL SPILL                MDL NO. 2179
 4       BY THE OIL RIG
         "DEEPWATER HORIZON"             SECTION:       J
 5       IN THE GULF OF
         MEXICO, ON APRIL                JUDGE BARBIER
 6       20, 2010                        MAG. JUDGE SHUSHAN
 7
 8




14
15
16
17                 Videotaped Deposition of ALAN
       O'DONNELL, taken in the Pan American Life
18     Center, 11th Floor, 601 Poydras Street, New
       Orleans, Louisiana 70130, on May 5, 2011.
19
       APPEARANCES:
20
21     LIEFF, CABRASER HEIMANN & BERNSTEIN
       By: Steven E. Fineman, Esquire and
22     Annika K. Martin, Esquire
       250 Hudson Street, 8th Floor
23     New York, NY 10013-1413
              (Attorneys for Plaintiffs
24            Steering Committee)
25

                        GAUDET KAISER, L.L.C.
                   Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 3 of 14127



 1             Q.       This is Exhibit 1919, APCSHS 2A
 2      00001082 through 1084.              Tab 18.
 3                              (Exhibit 1918 was marked
 4      for identification.)
 5                      Mr. O'Donnell, can you tell me
 6      what this is?
 7             A.       This looks like the BP AFE for
 8      the initial drilling of the well, the
 9      initial AFE.
10             Q.       Okay.      AFE is authorization for
11      expenditure, correct?
12             A.       Correct.
13             Q.       Okay.      And it says it was
14      prepared on August 28, 2009 in the left
15      corner, correct?
16             MS. WILMS:
17                              Object to form.
18             THE WITNESS:
19                              Yes.
20      BY MR. FINEMAN:
21             Q.       Okay.      And if you look at the
22      bottom right it looks like it's dated for
23      signature purposes December 17, 2009?
24             A.       Correct.
25             Q.       Is that your understanding?

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 4 of 14128



 1                      And it looks like it was signed
 2      by Anadarko by Stuart Strife; is that
 3      correct?
 4             A.       Correct.
 5             Q.       And Mr. Strife was the
 6      vice-president for exploration for the Gulf
 7      of Mexico?
 8             A.       That's right.
 9             Q.       Okay.      I think earlier you
10      testified that the budget was
11      coming from -- the dollars were coming from
12      exploration, correct?
13             A.       Right.
14             Q.       So that's why he was the one who
15      was signing this, correct?
16             A.       Yes.
17             Q.       Okay.      Did you play any role in
18      reviewing this AFE?
19             A.       No.     We pulled the well costs
20      from it.
21             Q.       Say that again, please?
22             A.       We utilized the well costs from
23      it.
24             Q.       What does that mean?
25             A.       The cost of the well, the AFE

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 5 of 14131



 1      department would have looked at it and seen
 2      if the cost was reasonable.
 3      BY MR. FINEMAN:
 4             Q.       Okay.      And would that
 5      person -- would that person -- does the
 6      drilling department report to you?
 7             A.       No.
 8             Q.       Who do they report to?
 9             A.       Darrell Hollek.
10             Q.       Okay.      I'm going to give you a
11      document we're marking as 1920.                   It's
12      ANA-MDL-000030713, 30714.
13                              (Exhibit 1920 was marked
14      for identification.)
15                      The first page of this exhibit
16      is a February 18, 2010, letter from
17      Mr. Huch to Mr. Beirne at BP, correct?
18             A.       Correct.
19             Q.       Do you know who Mr. Beirne is?
20             A.       I do not.
21             Q.       Okay.      And the letter suggests
22      that AFE -- supplemental AFE is being
23      attached, correct?
24             MS. WILMS:
25                              Object to form.

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 6 of 14132



 1             THE WITNESS:
 2                              It appears that's what it
 3      says, yes.
 4      BY MR. FINEMAN:
 5             Q.       Okay.      And can you tell me as
 6      the next -- the next document is a
 7      supplemental authorization for expenditure?
 8             A.       Yes.
 9             Q.       Okay.      And in the left corner it
10      says date prepared, January 27, 2010.                      Do
11      you see that?
12             A.       Yes.
13             Q.       And then again, it was signed by
14      Stuart Strife on behalf of Anadarko,
15      correct?
16             MS. WILMS:
17                              Object to form.
18             THE WITNESS:
19                              It looks like Stuart's
20      signature, but I can't be certain who would
21      have signed this.
22      BY MR. FINEMAN:
23             Q.       Okay.      Okay.      He's the VP of
24      exploration?
25             A.       Correct.

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 7 of 14135



 1             Q.       I'm going to give you 1921.
 2      It's ANA MDL 000030687 through 30690.                      It's
 3      tab 22.
 4                              (Exhibit 1921 was marked
 5      for identification.)
 6                      This exhibit, again, is
 7      a -- this is a March 30, 2010 letter from
 8      Mr. Huch to Mr. Beirne attaching a second
 9      supplemental AFE concerning Macondo; is
10      that correct?
11             MS. WILMS:
12                              Object to form.
13             THE WITNESS:
14                              Yes.
15      BY MR. FINEMAN:
16             Q.       Attached to that is a letter
17      from Mr. Beirne to Anadarko.                 I recognize
18      you were not a recipient.                Doesn't show you
19      as a recipient of that letter.                  But have
20      you seen this letter before?
21             A.       I don't think I have seen this.
22             Q.       Okay.      If you look at the final
23      page of this exhibit, this is a second
24      supplemental authorization for expenditure,
25      correct?

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 8 of 14136



 1             A.       Correct.
 2             Q.       And it was prepared, according
 3      to the document, on March 22nd, 2010,
 4      correct?
 5             A.       Correct.
 6             Q.       And this one is -- is this again
 7      signed by Mr. Strife?
 8             A.       Yes, it appears to be.
 9             Q.       Okay.      And did you -- do you
10      recall whether you played any role in
11      approving or authorizing this AFE?
12             A.       Again, my -- my group would have
13      updated the economics, if we did any.                      I
14      don't recall specifically that we updated
15      economics for this AFE, though.
16             Q.       Okay.      Do you -- do you know
17      what this -- what expenses this second
18      supplemental authorization for expenditure
19      concerned?
20             MS. WILMS:
21                              Object to form.
22             THE WITNESS:
23                              I really don't.           I know
24      that they had drilling -- drilling delays
25      and things and rig repairs, but I don't

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 9 of 14139



 1                              Object to form.
 2      BY MR. FINEMAN:
 3             Q.       -- at this time?
 4             A.       I do not recall.
 5             Q.       Do you recall any conversations
 6      about whether -- in connection with this
 7      AFE, this March 2010 AFE, the second
 8      supplemental authorization, do you recall
 9      any conversations about
10      where -- conversations where you were asked
11      to look into these increased costs?
12             MS. WILMS:
13                              Object to form.
14             THE WITNESS:
15                              I don't recall if we were
16      ever asked.
17      BY MR. FINEMAN:
18             Q.       All right.         I will show you one
19      more of these.          This is 1922, ANA MDL
20      000030726, 30728.
21                              (Exhibit 1922 was marked
22      for identification.)
23             MS. WILMS:
24                              Is this an exhibit?
25             MR. FINEMAN:

                         GAUDET, KAISER, L.L.C.
                    Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 10 of 14
                                                                       140



 1                              Yeah.      I'm sorry.        Is there
 2      a problem?
 3              MS. WILMS:
 4                              No.     I was just wondering
 5      what's the exhibit number?
 6              MR. FINEMAN:
 7                              It's 36.
 8              MS. MARTIN:
 9                              1920.
10              MR. FINEMAN:
11                              1920.
12              MS. MARTIN:
13                              Is that what you want?
14              MR. FINEMAN:
15                              What -- that says 1920.
16              MS. MARTIN:
17                              Oh, 22.       I'm sorry.
18              MR. FINEMAN:
19                              1922.      Here you go.
20              MS. WILMS:
21                              Thank you.
22      BY MR. FINEMAN:
23              Q.       This document again is an
24      April 15, 2010 letter from Mr. Huch.                      This
25      time to Aimee Patel at BP.                And it -- it

                          GAUDET, KAISER, L.L.C.
                     Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 11 of 14
                                                                       141



 1      purports to attach an AFE in the gross
 2      amount of $3.5 million.               Attached is an
 3      authorization for expenditure, correct?
 4              A.       Correct.
 5              Q.       And it appears the date prepared
 6      is April 14, 2010.            Do you see that?
 7              A.       Yes.
 8              Q.       And it appears that you signed
 9      this particular AFE, correct?
10              A.       Correct.
11              Q.       And it's dated April 15, 2010?
12              A.       Correct.
13              Q.       Why -- why did you sign this
14      particular AFE?
15              A.       Well, once we agreed to
16      participate in the well, we logged it and
17      we -- we saw that we had hydrocarbons that
18      we wanted to set pipe on.                We had internal
19      approval to set pipe.              So it was really a
20      formality, me signing this, and it implied
21      that the casing cost would come from the
22      development group instead of from the
23      exploration group since it is -- it is
24      going to be a development.
25                       So that -- that's why I'm -- my

                          GAUDET, KAISER, L.L.C.
                     Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 12 of 14
                                                                       142



 1      name is on the AFE and it's within my
 2      signatory authority.             If that would have
 3      been out of my signatory authority, then my
 4      boss would have had to sign it.
 5              Q.       Okay.     What was your signatory
 6      authority?
 7              A.       $5 million.
 8              Q.       Okay.     And what was this AFE
 9      specifically for?
10              A.       This was for setting production
11      casing.
12              Q.       Okay.     And do you recall
13      conversations where you or people in your
14      group assessed the reasonableness of the
15      expense?
16              A.       We did not assess the
17      reasonable -- reasonableness of the
18      expense.        The drilling department did and
19      then advised us that, yes, it looks
20      reasonable.
21              Q.       Okay.     23.     Wait.      Hold on.       Oh,
22      no.     I need -- let's do 21 first.                 Well,
23      it's -- should be more than that.                    Oh,
24      yeah.        All right.      Thanks.
25                       This is 1923, ANA-MDL-000058506

                          GAUDET, KAISER, L.L.C.
                     Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 13 of 14
                                                                       216



 1      document -- not the cover e-mail, but the
 2      actual document itself.
 3              MS. HARVEY:
 4                       And for the record, this is
 5      Bates number DWHMX-00058228 through 58231.
 6      We'll mark this as exhibit 1931.
 7                              (Exhibit 1931 was marked
 8      for identification.)
 9      BY MS. HARVEY:
10              Q.       It has the "Subject:             Temporary
11      abandonment, OCS-G 32308 number one well,
12      Macondo, Mississippi Canyon block 252 OCS,
13      Gulf of Mexico."           And could you explain
14      what this document is?
15              A.       The BP document?
16              Q.       Yes.
17              A.       It is an agreement to
18      temporarily abandon the well.
19              Q.       And if you read the second
20      paragraph into the record, the first
21      sentence of the second paragraph.
22              A.       "This letter shall evidence the
23      parties decision to temporarily abandon
24      OCS-G 32306, number 1 well, Macondo well,
25      in accordance with the previously approved


                     Board-Certified Court Reporters
Case 2:10-md-02179-CJB-DPC Document 4820-40 Filed 12/06/11 Page 14 of 14
                                                                       217



 1      original AFE and terms and provisions of
 2      the Macondo OA.
 3              Q.       And this document has your
 4      signature --
 5              A.       Yes.
 6              Q.       -- on it?       Thanks.       And you --
 7      you had signed on behalf of Anadarko E&P
 8      Company?
 9              A.       Yes.
10              Q.       And you also signed on behalf of
11      Anadarko Petroleum Corporation?
12              A.       Correct.
13              Q.       And you testified earlier that
14      you were not aware of Anadarko E&P Company?
15              MS. WILMS:
16                       Objection to form.
17              THE WITNESS:
18                       I was not aware early on that
19      they were a part of the well.
20      BY MS. HARVEY:
21              Q.       Did --
22              A.       I had heard of the company
23      before, but I don't -- I didn't know they
24      were part of the well.
25              Q.       Before signing this document had


                     Board-Certified Court Reporters
